Case 1:03-cv-01271-.]DT-tmp Document 35 Filed 05/11/05 Page 1 of 2 Page|D 18

 

 

 

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United States District Court jabara/ri 9
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Eastern Division 'WU- 35 TN'_JAC;(SS%§T

JUDGMENT |N A C|VlL CASE
LARRY MELTON, ET AL.,
v.
JOHN JEWELL, ET AL., CASE NUMBER: 1:03-1271-T/An
Decision by Court. This action came to consideration before the Court. The issues
have been considered and a decision has been rendered.
iT |S ORDERED AND ADJUDGED that in compliance with the order entered in

the above-styled matter on 5/9/2005, this case is hereby D|SM|SSED and each party
shall bear their own costs.

APPROVED:

 

JA s D. ToDD \
ED sTA'rEs DlsTRicT JuDGE

ROBERT R. Di TROL|O

 

 

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This document entered on the docket sheet in compliance

with Rule 58 and/or rera) FRcP on 5 0 S.

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STATES D1STR1CT OURT - WESTENR D1TCSR1T OF TNNEESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 35 in
case 1:03-CV-01271 Was distributed by faX, mail, or direct printing on
May 12, 2005 to the parties listed.

 

 

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Honorable .1 ames Todd
US DISTRICT COURT

